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                EXHIBIT A
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Motion /
                     Additional
Relevant    Date                                 Party Raising        Party
                      Filings         Topic                                                                                Parties’ Positions
 Filing     Filed                                   Matter          Responding
                      Dkt. No
Dkt. No.
                                                                 Global Case Management Matters
1:25-md-   5/18/25      N/A        Coordinated    OpenAI and          Plaintiffs  Defendants’ Position: Defendants propose that all parties to the consolidated proceeding
 03143-                            Depositions     Microsoft         (News and    continue discussions regarding deposition coordination, and request a deadline of June 13,
  SHS-                                                                  Class     2025 by which they must submit an agreed deposition protocol, or if agreement cannot be
 OTW,                                                                Plaintiffs)  reached, competing proposals for resolution by the Court at the next discovery conference.
 Dkt. 47                                                                          Most importantly, each witness—whether defense, plaintiff, or third-party—should testify
                                                                                  one time in a single, coordinated deposition attended or represented by all parties seeking
                                                                                  to question the witness; this was one of the primary reasons the JPML instituted the MDL.
                                                                                  See Transfer Order at 3 (noting that the parties “have been unable to agree on a deposition
                                                                                  coordination protocol to eliminate duplicative depositions of defense witnesses”). As
                                                                                  Defendants have previously argued, absent a coordination protocol, witnesses would be
                                                                                  required to sit for multiple, duplicative depositions on the same legal and factual issues.
                                                                                  See, e.g., NYT Dkt. 382. Total hours, and per-witness hours limits (for 30(b)(1), 30(b)(6)
                                                                                  and apex witnesses) are also necessary to ensure a feasible, fair, and efficient discovery
                                                                                  process in this consolidated proceeding.

                                                                                     News Plaintiffs’ Position: Plaintiffs respectfully ask the Court to set a deadline of June
                                                                                     5th for the parties to submit final proposals for a deposition protocol. The parties
                                                                                     (including class plaintiffs) were close to resolving all of their disputes, as reflected in the
                                                                                     deposition protocol term sheet the parties jointly prepared during the March 7 settlement
                                                                                     conference in Court. Plaintiffs are preparing a revised proposal to account for the newly
                                                                                     centralized cases and additional plaintiffs who will be participating in these depositions..
                                                                                     To the extent the parties cannot reach full agreement, the parties should submit competing
                                                                                     letter briefs and proposals on June 5th, which is the same day the parties have separately
                                                                                     agreed to submit competing proposals for other discovery protocols, such as an omnibus
                                                                                     protective order. See Dkt. 47 at 64.

                                                                                     Class Plaintiffs’ Position: Class Plaintiffs incorporate by reference News Plaintiffs’
                                                                                     Position on this point and further refer to their position set forth in the joint CMC
                                                                                     Statement, Dkt. 47.

1:25-md-   5/18/25      N/A        Coordinated    OpenAI and          Plaintiffs     Defendants’ Position: Defendants propose that the parties meet and confer regarding a
 03143-                            Discovery &     Microsoft         (News and       process for coordination of all Plaintiffs’ discovery requests to Defendants, and request a
  SHS-                             Related                              Class        deadline of June 13, 2025 by which the parties must agree to a coordinated process for
                                   Deadlines                         Plaintiffs)     service of any such discovery requests or submit competing proposals for resolution by the
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Relevant   Date                             Party Raising     Party
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                    Dkt. No
Dkt. No.
 OTW,                                                                    Court at the next discovery conference. Defendants’ proposal is consistent with the
 Dkt. 47                                                                 JPML’s findings in centralizing these twelve cases, namely that there is “substantial
                                                                         overlap in factual questions and discovery relating to defendants’ training of their LLMs,”
                                                                         that such discovery is “complex[] and voluminous,” and that “[c]entralization will
                                                                         eliminate duplicative discovery . . . and conserve the resources of the parties, their counsel,
                                                                         and the judiciary.” Transfer Order at 1-3. To the extent there are disputes about the
                                                                         specific numbers of discovery requests (e.g., interrogatories) that any or all Plaintiffs can
                                                                         serve or have remaining, the parties will meet and confer regarding those limits.
                                                                         Regardless, moving forward, any additional written discovery request that Plaintiffs elect
                                                                         to serve on Defendants should be coordinated and served on behalf of any and all Plaintiffs
                                                                         that are seeking that discovery in this consolidated proceeding. Class Plaintiffs have not
                                                                         proposed any meaningful coordination and additionally propose an unworkable
                                                                         schedule. Even based on the operative complaints, the parties have many RFPs on which
                                                                         to meet and confer, and, depending on the deposition protocol that is entered, more than
                                                                         150 depositions to take. With respect to the proposed amended complaints, the Court
                                                                         should not permit Plaintiffs to add new causes of action, add additional later-released
                                                                         products to the case, or expand their class definition in the superseding pleading outside
                                                                         the scope of the current separate complaints. However, to the extent Plaintiffs are
                                                                         permitted to do so in a Proposed Consolidated Class Complaint, those additions are likely
                                                                         to result in a materially expanded scope of claims requiring additional discovery. Thus,
                                                                         once the scope of claims is set, Plaintiffs should serve one coordinated set of discovery
                                                                         requests, which should follow the schedule proposed by Defendants in the joint initial
                                                                         CMC statement. Dkt. 47 at 49-51.

                                                                         In the event that Judge Stein asks this Court to resolve any of the issues or disputes that the
                                                                         Parties have identified in their joint initial CMC statement, see Dkt. 47, Defendants adopt
                                                                         the same positions as to those issues and disputes here that they took in the CMC
                                                                         statement.

                                                                         News Plaintiffs’ Position: So long as Defendants agree to cross-produce their documents
                                                                         in each News case in which they are a party, News Plaintiffs have no objection to
                                                                         coordinating with one another to serve consolidated sets of written discovery on behalf of
                                                                         all News Plaintiffs, which is precisely the scope of coordination that Defendants requested
                                                                         in their CMC Statement. See Times Dkt. 564 at 32 (Defendants proposing that “News
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                    Dkt. No
Dkt. No.
                                                                         Plaintiffs and Class Plaintiffs each should serve one coordinated set of discovery requests”
                                                                         (emphasis added)). This approach is consistent with the parties’ agreement (including
                                                                         Defendants’ agreement) to appoint separate leadership counsel for the News Cases and the
                                                                         Class Cases. See Times Dkt. 564 at 2, 29. Because News Plaintiffs and Defendants are in
                                                                         agreement on this issue, there is no reason to impose Defendants’ requested June 13
                                                                         deadline, at least for the News Cases.

                                                                         Class Plaintiffs’ Position: Class Plaintiffs respectfully ask that the Court set a deadline of
                                                                         June 5th for the parties to agree on a coordinated discovery process or submit competing
                                                                         proposals for resolution by the Court. This is aligned with the schedule that Class Plaintiffs
                                                                         proposed in the joint CMC statement, Dkt. 47, shown below:
                                                                         • Last day to file stipulated or opposed discovery protocols and letter briefs in support, if
                                                                             applicable (including deposition protocol, protective order, training data inspection
                                                                             protocol, and potentially including an ESI protocol and/or source code protocol): June
                                                                             5, 2025
                                                                         • Last day to Serve or File Consolidated Class Action Complaint(s): June 10, 2025
                                                                         • Substantial completion of document productions for requests issued prior to 5/22/2025:
                                                                             June 24, 2025
                                                                         • Last day to serve additional written discovery or propound additional custodians/search
                                                                             terms (absent good cause): July 29, 2025.
                                                                         Contrary to Defendants’ claim and as set forth in detail in the CMC statement, this schedule
                                                                         allows for discovery to proceed in a coordinated process without delay and Plaintiffs will
                                                                         continue to coordinate discovery as they have done in the past.
